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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MONTANA

-------------------------------------------------------------x
                                                             :
MONTANA DEPARTMENT OF                                        :
ENVIRONMENTAL QUALITY,                                       :
                                                             :
                                    Plaintiff,               :
                                                             :
                          v.                                 :
                                                             :   Case No. 6:17-cv-00003-CCL
VOLKSWAGEN AKTIENGESELLSCHAFT
                                                             :
d/b/a VOLKSWAGEN GROUP and/ or
                                                             :
VOLKSWAGEN AG; AUDI AG;
                                                             :
VOLKSWAGEN GROUP OF AMERICA,
                                                             :
INC., VOLKSWAGEN GROUP AMERICA
                                                             :
CHATTANOOGA OPERATIONS, LLC,
                                                             :
AUDI OF AMERICA, LLC; DR. ING. H.C. F.
                                                             :
PORSCHE AG d/b/a/ PORSCHE AG; and
                                                             :
PORSCHE CARS NORTH AMERICA, INC.,
                                                             :
                                    Defendants.              :
                                                             :
                                                             :
-------------------------------------------------------------x



                                          RULE 7.1 STATEMENT
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       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for Volkswagen

Aktiengesellschaft d/b/a Volkswagen Group and/ or Volkswagen AG (“VWAG”); Audi AG

(“Audi AG”); Volkswagen Group of America, Inc. (“VWGoA”); Volkswagen Group America

Chattanooga Operations, LLC (“VW Chattanooga”); Audi Of America, LLC (“AoA”), certifies

as follows: (i) Volkswagen AG is the parent corporation of Volkswagen Group of America, Inc.

and Audi AG; (ii) Volkswagen AG is a publicly-held German corporation that owns 10% or

more of the stock of Volkswagen Group of America, Inc. and Audi AG; and (iii) Porsche

Automobil Holding SE is a publicly-held corporation that owns more than 10% or more of

Volkswagen AG’s stock.


                                               Respectfully submitted,


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                                               Aktiengesellschaft d/b/a Volkswagen Group
                                               and/or Volkswagen AG, Volkswagen Group
                                               of America, Inc., Volkswagen Group


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                                       America Chattanooga Operations, LLC,
                                       Audi AG, and Audi of America, LLC

                                       * Application for admission pro hac vice
                                       forthcoming



January 13, 2017




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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of January, 2017, the foregoing RULE 7.1

STATEMENT, was served on the following counsel for Plaintiff by email and U.S. mail:


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